Case 4:10-cv-05260 Document 20-6 Filed on 03/11/11 in TXSD Page 1 of 5

Pespe | of!
CopyCenter

From: = Brad Lockwood [Lochwoadb@ tdeonenergy.com]
Sent; Wadnesday, July 23, 2008 @25 PM

Tor ‘Alek Wiison’

Ger Vult Aajaveo; Jennifer Morn; Ami! Bansal
Subject: RE: Vinmar MX Sept GFA Sales Contract pdl

Hi, Rick. Wa have @ couple of different aplions to use, so tl depends on {he discharge port you dectara, and the elas to that part tor
ihe apilons wa have, belore we declte which lo nominate,

Thani you,
Brad

 

Fram: Rick Woson [malltoiRWilson@vinmar.com]
Sent; Wednesday, July 23, 2008 3:28 Pi

Tor Brad Lockwood

Ces Vuh Rajavar; Jennifer Moving Amlt Bansal
Subject: RE: Vinmar MM Sept CFn Sales Contract.pdf

Brad, could you plense send mé dhe RCAP for the shipging you urvanged for this caren’
Many dunks.

be wine fe Ge neet ceme ten dene aes at

Prom Brad Lockwood imalito:Lockwoodb@bloonenergy.com]
Sent: Wacnesclay, July 23, 2000 10:57 AM :

Tas Rick Wilson

Ce: Vuk Rajevac; Jennifer Morin; Amit Bansat

Subject: Viernar MX Sept CFR Sales Canlract.pdf

COO m Eat Ew & CLS bo mete ne BE bebe art teted 46 Ae

Riek,

Pm pleased to alc a copy of our gules contruct to you for tho mixed xylenes dew from yebterdny, Please let Vuk know

the contact details For-your lozisties collengue, so he can be sure ta arrange everything praperly on this. Thanits For the
bustress.

Best regards,

Brad Lockwood
Tricon Energy

09/02/2006

PLAINTIFF’S mam oppens
EXHIBIT

 

 
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Tren Enargy, Lid.

Se ! -, +E Bt 777 Post Cak Bld, Sullg 550
AICON HousJon, Toros T7080 5A,
wa ‘ E Tol (743) BE-onnd

BR Gy

Poa (719) 185-0100

Dale: duly 23, 2008

Vin mar Intemailonal, LTD wre

Altre Fick Wlison Broker MOAB
1800 Imperial Valay Orive, Sulla 495

Houston, TX 77080

Phones
Fax

Tricor Sates umber: SATZ30-0708HOU

We hereby confirm this agreement beiween Bred Lockwood af Trlean Energy, Ltd, (Seller) and
Rick Wilson of Viamar Intematienal, LYO (Buyer) on duly 22, 2006.

Tha fallavdng gels ferih the enlirs sgreement of the partes.

Product:
Quanity:
Civelbty:
Price:
Incoterms
Ghip Perlod:
Shivyped Vie:

Paymant:
Crudlt Terms:

Scheduling!
Involoing:

Mixad Xyfnnws
5,000 Wali Tons +- 6 % (Vessels Optlon) :
ASTM 0-524 1 with 5! max 26

USO $1340.00 / Matra Tana

GEA Ulsan Talvan

September 1, 2006- Seplamber 18, 2008
Tn

At sight
Subject jo Sellers credit requlremunts: {vavocable and conlinmed
documentary LG

a laller of credit ts required, & must be mecelved at lessl & working days parlor
lo shipmant.

Gravi; Jennifer Morin
Phone; 719-063-0086
Pex; 715-985-0198
Mutually eeceptable, licensed Indepandani inspeciar al Load
Cask 100 % Sailer ab Load
Quantlly: Sialic shore tank down gauge al Lead
Sualily: Staite share lank analysts al Load
Scheduling: Yul Aslevac
Phone: 749-863-0065
Fex: 743-985-6192

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1) Vessel/Barge Acceplunce-Vassel and berge norninations to bz agreed upon mulually behvesn
buyar and seller,

2} Darourrage- Buyer shell ba obtigaled te pay forany and all demurrega lability under this eanlrect as
long &s sell er presents clalm and supscsting documents,

3) Law snd Juriditclicn: This contract and the rights and dulles of the partles arlsing oul of this
caniract shell ba governed hy and construed, enforced, and performed in accordance with [ha laws of
the stale of Tangs, Including, wilhout Emitelion, the Uniform Commercial Code es tn affect in the alate
of jexay, es the same may be amended from lime lo Mime, without regard to prinelples of contitcts af
Law. The pertiss agree thal this agrebment shall be accepted end formed in the sisle of Texas
weterding ta the procedures herein set forth,

4) Addlcnal Collsleral Requirement If, at any lime and fom Ume fo ime during tha lem of (ha
Agemant, lhare occurs a Meledal Adverse Changa In the fnanstal conelition wilh feapact to the

buyer In this egreement, Lhe Seller may request tse buyer to eslebllsh a Letter of Cradil ar prepay for
the dollar 2mount of tranezciion,

5} Incotsrme- Any sliivetlons not speciically addressad by this coniimiallon will bs governed by
Incolarms 2000 of faleat published Incolerme {to the axtent epplcabla} as tn effect al the ime of this
agreement ls entered Into, Texas law io contol in the event of confliat.

6) Force Majeure - A Nellher party shail be fable in damages or otherwise far any fellura or dalay in
Paforiense of any ablgatlon hereunder olher thon abilgalion to make paymenl, where such [allure or
daly 1s caused by jes malaure, being any event, occurrence of elratimetanees raasonably beyond
theconiral of the party, Inotudlng wilheul liemitatlon, fallure or delay caused by or raaulling frant seta of
God, stiles, fires, floods, wars (wholher doslared ar undealared), pols, destruction, of tha producl,
deliver of carlere due to brankdown or adverse woalher, penile of Ihe saas, amber ne, aceldunie
vollmtery or mandalory restrollons Imposod by any governmentet sulhorlly { Including allocations,
frlocitlas, requialllons, quaing, and prioa controls),

8) lf Farce Majeure affeats saller, seller may al lls opllon, exerulsed by nollca to buyer glen within 2
reagonable lima, ether (1) cancel {rom ifs contract lhe quanitos which have not been shipped dua
la Force Mafeure, without affecting the balance of thls contrack ar (il } ship such quanililas ln none
ane er mors lots, alter caller deems the effect of foree majeure io have andad, en the seme torma wa
Sel forth In ihls centract,

7) Transtar of Tile and'Risk- ‘Transfer of till ef the Product will ese fram Seller is Buyer tipon
payment fn full of the Telal Price and Interest, f any,

Transfer of Risk of damage (o orloss of pieduel shall puss from Salles to buyer es follows

A) GPR end CIF Sales- lsh of derrege (a of loss of praduel sirall pass fram seller to buyer at tie
fiange connecilon belwaen the loading hose end the vessel's pennanent hose connecion at the
loading taemnal, or atthe Une ofbaok, glock or Inventory lrensfer,

8) Delivered Seles- Alsh of demage to or Ines of produel shell pass fom seller in buysr at the flange
connaolion belween the dlschemging hose snd the vescel's permanent hase connection al the
discharging lenminel, or st tha lime of book, steck or Inventory transfer.

8) Taxes- Any Taxes now or herealler imposed dbrecily or Indireelly by lew upon produets sold end
dalvered ( inctuding slorega end far ansportatan) to the Buyer under this Contract which Soller fe

required lo pay er collscl may be added te the product pica and pessed on via expllcll surchange to
Buyer.

if Soyerhes fumished Sellar with a velld resale or olher exemption cerilficats ur prool of Export
acrepleble to Seller for seles or use lax purgoses or other welten prool which, In acsurdance with law,
willeed to and exemplten with ragurd to faxes, than such (exes shell not be imposed on the sale of
Product hereunder. Buyer will howaver romaln fisble towards Seller for any taxes due In rofallon to

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noweapplicabllity of insufilelant proof ylth regard {0 tha applleablilty of any exemplion.

Tha term “taxes” ag mentloned In this Paragraph means any lax ( Including without timllallon any
Value addled tax, sales tax, usa tex, excise fa4, slorage of property fax, Superfund excle tax or spill
{ss}, excise duty, customs duty, fazs, dulles or othar chargas, or any Increase lheraln, ag well as any
Interest or penally related hereto, ,

The term “taxes” will nol Include any taxes due on profile such ag tormarala Income taxes,

if Buyer ts currenily reatsterad on Federal IRS Form 637, Guyer shall furnish seller with an lnexplred
nolfication cerilficate meeling the current Teguialory requirements. Buyar warrants thal lis tagistratian
has nol been revohed or suspended, Buyer shall pay seller any applicoble Federal excise laxes [f
such netificalion cerllicals is not aupplied ta solar priorts dellvery, [f Buyer is aniledt to Purchase
prodol free of any other tax, fans, duiles or charges, Buyar shall fumish selter wilh the proper
Bsampilon cerilicale ta cover such Purchases peor te dallvery. Prouldad, hawaver, that buyer shall
fey lo seller the federal excise tax [f We to tha product sald hereunder!s transfered to buyer by
gars of a book, stuck, or any other in-tank lrenster or faciity pump over fram sellers slorage
account orlnvanlary, The Foregaing proviso does nol apply it } Buyer provides proof from a
Summen contract canter that the product was ramoved ‘om seller's slorage sceount or inventory via
pipeline or vessel by e geguling registrant} or, 2) if the terminal oparater nollfigs the sellar that the
pery recelving the product qualifies 2s a * postlon holder’ as defined fn Treas. Rag. Section 48,4087-
Atm), 4ilh raspect lo the product gold hereunder end such racalving party Is # gzsalina reglsirant,

Lata payments shall Incur Interael and penalies equal to the hen applicable sista of IRS, es the case
mey be, Interest and penallles for late paymants,

8) Arbllration- Any and all differences and disputas of whalspaver nalure arising oul af this Apraemant
shall te put fo arbltralian in Housion, Texas, in English pursuantto tha lawe retsung to arbltralfon
\hete In fore, end, lo the extant not Inconaisient with ihig Agtaameant, the Commurclal Arbliratian
Rulas of the Amercan Arbitration Assoclalion, or under the rules of such other arbilration assoclatlor
as ihe parlles may mutually agrao, before @ board of thres fersong, conplsting of one arblirater to be
appalled by Galler, one by Buyer and ane by the two so chosen, The delslan of any two of the three
an ery pont or golats shall be final, Untlt such fre as {he arblirators finely clase tha hesrings alther
perly shall have lhe rohl by vallten notes served on fhe arbliraters end on the athar arly lo specify
lurther dlepules or differences under this Agrarmant tor headng ond detarmminallon, ‘Tha arbllrators
may grant ony reflel which thay, or a malarly of thom, deem Jus! and squitabla end within the scope of
{he agreement of the pattles, lncluding, bul net limlted to, specitte nerfumence, provided that the
srbltrstora ehall hava pe sulhodly to eward punlive damages. Aware made in pureugnes to this
Clause may include evgts, including a seascneble alavanue for allamay's fees, and jucgment may be
Snlcred upon any award made heraundes in any Catt having furtedicllon, Tals poregreph shall
survive any lenmlnallon of this eyreagmank

10) Product Use- Buyer reprasents and warrants that the product purhased herounder shall be usact
forolher than gesollna blending purposes In the U.S, Suyer shall nally aallar, ss soon as posslila, of
any changa In planned ar acluat tongumplion aris use of tha product purchased heraundar whether
euch chenge ls by virtue of huyer's acton or thoce of Iled parlles to whem buyer has sold the product.

14) Price and Payment The Tots Price and ell othor amounts payable by Guyer to Sellar under this
aonbact shall be payahte wilharg eny discaunt, deduettan, be-all, len, claim or counter latin, ihe
Tolal Price or any olher amounls dua by Buyer to Seller under thls Conlraut are nat paid whan dus,
the Intemst shall aecrus and shalf he peld on all amounts oUlsiending unlll payment in full is reneivect
by the Salter tn is deslonated bank. Seller reserves the right ta charge the maximum allowable
Interast as per U8. lsw for alllate payments.

12} interest- in ths event lhe Buyer falls jo male poyment on tha dus dale a8 oxpiassed on Tricon'e
invalce, lhe Suyerts subject to en additional Injerast expense calculaled st 4.5% per annum,
beginning on the due dafe Iisled on the Invales.

Broker This cancels and buperedas any broker corespondence In relation to this treneeclion whieh
shall be for the sols purpose of documenting commiselon, W envy,

Centos dumber SAla7dBHOU

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- TRE OOGIGS

 
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Noles; Buyar la daclere O88 Ulsan or Talwen by Augus| 8, 2008,

 

 

Date: July 22, 2004 Accepted Dale:

ay By:
Prinied Name: Brod Lockwond Printed Nama: Alek Wilson
The: . Tila!

Ploose advite your agreament by signing tha foregoing and relurn vie fax (718-983-8030) within 24

hours, In the avent wa do nolsenelve your reply as requested, then this contract shell be the
governing instrumant.

We thant you for the opporiunlly of sangluding thls banssction.

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